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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

____________________________________
                                       :
 Joseph Strauch and Timothy Colby,     :
 on behalf of themselves and all those :
 similarly situated                    :              Civil No.:
                                       :              3:14-cv-956 (JBA)
                                       :
        Plaintiffs,                    :
v.                                     :
                                       :
Computer Sciences Corporation          :
                                       :              October 9, 2019
        Defendant.                     :
____________________________________:


    DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                   MOTION FOR SERVICE AWARDS

                                        INTRODUCTION

       Defendant Computer Sciences Corporation (“CSC”) respectfully objects to Plaintiffs’

Motion for Service Awards seeking $10,000 each for Plaintiffs Timothy Colby, Joseph Strauch,

Charles Turner, and Vernon Carre. Because this case proceeded to trial, there is neither a

settlement agreement nor a common fund from which Plaintiffs’ proposed $40,000 in service

awards can be drawn. Absent a settlement agreement or a common fund, the Court lacks the

statutory authority to allow such an award and, accordingly, Plaintiffs’ motion must be denied.

                                          ARGUMENT

       Although service awards are commonly awarded in class actions, these payments often

come from a common fund after a settlement has been reached. See, e.g., Grice v. Pepsi Bevs.

Co., 363 F. Supp. 3d 401, 405 (S.D.N.Y. 2019) (common fund intended to cover payment of

service award). “[I]ncentive awards are usually viewed as extensions of the common-fund

doctrine, a doctrine that holds that a litigant who recovers a common fund for the benefit of persons

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other than himself is entitled to recover some of his litigation expenses from the fund as a whole.”

Hadix v. Johnson, 322 F.3d 895, 898 (6th Cir. 2003), citing Boeing Co. v. Van Gemert, 444 U.S.

472, 478, 62 L. Ed. 2d 676 (1980). “In the absence of a common fund and the agreement by the

defendant to award an enhancement payment upon settlement, courts generally do not award

incentive payments to the class representatives regardless of the extent of their participation in the

action.” Id. at 849. “Without a common fund . . . there is no place for an incentive award.” Id.

        Furthermore, “[t]here is no statutory authority to award incentive payments to class

members. . . . Because no statutes do authorize such awards, incentive awards are rare in fee-

shifting cases, absent a defendant’s agreement to pay such awards.” In re Taco Bell Wage & Hour

Actions, 222 F. Supp. 3d 813, 848–9 (E.D. Cal. 2016), quoting Newberg on Class Actions § 17:4

(5th ed.).

        In the present case, CSC has not entered into an agreement to pay for service awards nor

is there a common fund. Therefore, the Court must look to the underlying statute for authority to

grant Plaintiffs’ Motion for Service Awards. Under the Fair Labor Standards Act (“FLSA”), “[t]he

court . . . shall, in addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable

attorney’s fee to be paid by the defendant, and costs of the action.” 29 U.S.C. § 216 (b) (2019).

Plaintiffs fail to present any support that service awards are “costs” as contemplated by the statute.

        Further, according to Rule 23 of the Federal Rules of Civil Procedure, “[i]n a certified class

action, the court may award reasonable attorney’s fees and nontaxable costs that are authorized by

law or by the parties’ agreement.” Menkes v. Stolt-Nielsen S.A., No. 3:03CV00409(DJS), 2011

U.S. Dist. LEXIS 7066, *14 (D. Conn. January 25, 2011). Once again, Plaintiffs fail to offer

support that service awards fall within the purview of a nontaxable costs.




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       In conclusion, absent a settlement agreement or common fund, service awards cannot be

awarded to Plaintiffs because the court lacks the statutory authority under either the FLSA or Rule

23 of the Federal Rules of Civil Procedure to impose these awards. Accordingly, the Court must

deny Plaintiffs’ Motion for Service Awards.

                                        CONCLUSION

       CSC respectfully requests that this Court deny Plaintiffs’ Motion for Service Awards in its

entirety. As Plaintiffs concede, if the Court grants their Motion, the service awards must be paid

from the amount awarded to Class Counsel as attorney’s fees at no additional expense to CSC.

See Amara v. CIGNA Corp., 3:01 CV 2361 (JBA), 2018 U.S. Dist. LEXIS 202717, *10–11 (D.

Conn. November 29, 2018) (awarding service awards from attorneys’ fees).

                                                     Respectfully submitted,
                                                     DEFENDANT,
                                                     COMPUTER SCIENCES CORPORATION

                                                     By its attorneys,

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                                 CERTIFICATION OF SERVICE

                I hereby certify that on October 9, 2019, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system and by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.



                                       /s/ William J. Anthony
                                       William J. Anthony

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